                                         Case 22-02384-LT11   Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 1 of 26



                                           1   SAMUEL R. MAIZEL (Bar No. 189301)
                                           2   samuel.maizel@dentons.com
                                               TANIA M. MOYRON (Bar No. 235736)
                                           3   tania.moyron@dentons.com
                                           4   DENTONS US LLP
                                               601 South Figueroa Street, Suite 2500
                                           5   Los Angeles, California 90017-5704
                                           6   Telephone: 213 623 9300
                                               Facsimile: 213 623 9924
                                           7

                                           8
                                               Proposed Attorneys for the Chapter 11
                                               Debtor and Debtor In Possession
                                           9
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11                   UNITED STATES BANKRUPTCY COURT
                                                               SOUTHERN DISTRICT OF CALIFORNIA
         DENTONS US LLP




                                          12
            (213) 623-9300




                                          13   In re                                 Case No. 22-02384-11

                                          14   BORREGO COMMUNITY                     Chapter 11 Case
                                               HEALTH FOUNDATION,
                                          15
                                                                                    DECLARATION OF ISAAC LEE, CHIEF
                                          16         Debtor    and    Debtor     In RESTRUCTURING     OFFICER,   IN
                                               Possession.                          SUPPORT OF DEBTOR’S EMERGENCY
                                          17
                                                                                    FIRST DAY MOTIONS
                                                                                     Judge: Honorable Laura S. Taylor
                                          18

                                          19
                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27

                                          28

                                                                                      -1-
                                         Case 22-02384-LT11     Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 2 of 26



                                           1                               DECLARATION OF ISAAC LEE
                                           2         I, Isaac Lee, hereby state and declare as follows:
                                           3         1.     I am a Managing Director at Ankura with more than 20 years of
                                           4   operational and financial restructuring experience. I have advised numerous
                                           5   companies on turnaround plan development and evaluation, liquidity improvement
                                           6   initiatives, asset dispositions, liability management and bankruptcy filing
                                           7   preparation. I have also assisted in managing and administering companies during
                                           8   chapter 11 cases. Additionally, I have prior experience with health care providers,
                                           9   including a nine surgical center system and had senior level responsibilities on two
                                          10   prior engagements where Ankura has been involved as Chief Restructuring Officer.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11         2.     I received my MBA from the Tuck School at Dartmouth College and
         DENTONS US LLP




                                          12   my BS in Business Administration from the University of Southern California.
            (213) 623-9300




                                          13         3.     On January 2022, Borrego Community Health Foundation (the
                                          14   “Debtor”) engaged Ankura Consulting Group (“Ankura”) to, among other things,
                                          15   provide financial advisory services.
                                          16         4.     Effective as of the Petition Date (as defined below), I was appointed the
                                          17   Chief Restructuring Officer (“CRO”) in connection with the above-referenced
                                          18   chapter 11 case (the “Case”), and am supported by a team at Ankura.
                                          19         5.     I am knowledgeable and familiar with the Debtor’s day-to-day
                                          20   operations, business and financial affairs, restructuring efforts and the circumstances
                                          21   leading to the commencement of this Case. Except as otherwise indicated herein,
                                          22   this Declaration is based upon my personal knowledge, my review of relevant
                                          23   documents, information provided to me by employees of the Debtor or the Debtor’s
                                          24   legal and financial advisors, or my opinion based upon my experience, knowledge,
                                          25   and information concerning the Debtor. If called upon to testify, I would testify
                                          26   competently to the facts set forth in this Declaration.
                                          27         6.     I make this declaration for the purpose of apprising the Court and parties
                                          28   in interest of general background on the Debtor and its operations, facilities and

                                                                                         -2-
                                         Case 22-02384-LT11     Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 3 of 26



                                           1   patient services, the Debtor’s restructuring and transformation efforts to date, the
                                           2   circumstances that compelled the commencement of this Case and additional facts in
                                           3   support of the First Day Motions (as defined below).
                                           4         7.     To enable the Debtor to minimize the adverse effects of the
                                           5   commencement of this Case on its business, the Debtor has requested various types
                                           6   of relief in a number of applications and motions (each a “First Day Motion,” and,
                                           7   collectively, the “First Day Motions”). The First Day Motions seek relief intended to
                                           8   maintain the Debtor’s business operations; to preserve value for the Debtor, its
                                           9   stakeholders, and parties in interest; and, most importantly, to protect the health and
                                          10   wellbeing of the patients who are being treated at the facilities operated by the Debtor
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   and the employees of the Debtor. Each First Day Motion is crucial to the Debtor’s
         DENTONS US LLP




                                          12   restructuring efforts and to the health and wellbeing of the patients. Any capitalized
            (213) 623-9300




                                          13   term not expressly defined herein shall have the meaning ascribed to that term in the
                                          14   relevant First Day Motion.
                                          15         8.       Section I of this Declaration provides a general overview of the Debtor
                                          16   and its operations and facilities. Section II provides an overview of the events that
                                          17   led to the filing of this Case. Section III describes provides a summary of the First
                                          18   Day Motions and factual bases for the relief requested therein.
                                          19                             I.      GENERAL OVERVIEW
                                          20         9.     The Debtor is a non-profit public charity, tax-exempt under section
                                          21   501(c)(3) of the Internal Revenue Code. Debtor, as of the date hereof, had 24 brick
                                          22   and mortar sites including administrative sites, 2 pharmacies and 6 mobile units
                                          23   covering a service area consisting of a 250-mile corridor on the eastern side of San
                                          24   Diego and Riverside Counties, CA. During 2021, Debtor provided approximately
                                          25   386,000 patient care visits.
                                          26         10.    The Debtor is also a federally qualified health center (“FQHC”).
                                          27   FQHCs are federally designated entities that receive federal grants and enhanced
                                          28   state payments to provide health care services to low-income and rural patients.
                                                                                         -3-
                                         Case 22-02384-LT11     Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 4 of 26



                                           1   Debtor’s health services are targeted to families with incomes below 200% of the
                                           2   Federal Poverty Level (“FPL”). As an FQHC, Debtor strives to deliver high quality,
                                           3   comprehensive, compassionate primary health care to people in the surrounding area,
                                           4   regardless of ability to pay.
                                           5          11.   The Debtor is also a Federal Tort Claims Act (“FTCA”) “deemed
                                           6   facility.” Under section 224 of the Public Health Service Act, as amended by the
                                           7   Federally Supported Health Centers Assistance Acts of 1992 and 1995, employees
                                           8   of eligible health centers like Debtor may be deemed as federal employees for the
                                           9   purposes of liability protections under the FTCA for acts or omissions in the
                                          10   performance of medical, surgical, dental, or related functions resulting in personal
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   injury, including death, and occurring within the scope of employment. Congress
         DENTONS US LLP




                                          12   extended eligibility for FTCA protections to health centers like Debtor in order to
            (213) 623-9300




                                          13   increase the availability of funds for health centers to provide primary health care
                                          14   services by reducing or eliminating health centers’ malpractice insurance premiums.
                                          15          12.   The Debtor was organized in the early 1990s to operate a holistic health
                                          16   clinic in Borrego Springs, a small, unincorporated community in the northeast corner
                                          17   of San Diego County, California. In 2002, when Debtor gained recognition as an
                                          18   FQHC, it operated one clinic in Borrego Springs with 17 employees providing 7,400
                                          19   patient visits. Debtor has since grown to approximately 700 employees serving over
                                          20   94,000 patients in 18 clinics and six mobile units throughout San Diego and Riverside
                                          21   counties, excluding Riverside Community Health Foundation (“RCHF”) affiliated
                                          22   clinics.
                                          23          13.   Debtor’s programs aim to deliver culturally competent and linguistically
                                          24   appropriate care. Debtor strives to be the community leader in improving the health
                                          25   of the populations in its service area, many of whom struggle with job and housing
                                          26   insecurity or disabilities. Its primary focus is the underserved, with an empowered
                                          27   workforce providing measurable quality and compassionate care to its patients. As
                                          28   of 2021, of Debtor’s patients: (a) 94% have incomes below 200% of the FPL; (b)

                                                                                        -4-
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7    Pg. 5 of 26



                                           1   71% live in poverty; (c) approximately 75% are Medi-Cal (Medicaid) recipients or
                                           2   participate in other public health programs; (d) 36% are under the age 18, and (e)
                                           3   93% are under the age of 65.
                                           4         14.    Debtor’s services include comprehensive primary care, pediatric care,
                                           5   urgent care, behavioral health, dental services, specialty care, transgender health,
                                           6   women's health, prenatal care, veteran’s health, chiropractic services, telehealth, and
                                           7   pharmacy.
                                           8         15.    Debtor is an active partner in the training of medical residents, medical
                                           9   students, nurse practitioner students, physician assistant students, nursing students
                                          10   and other healthcare professionals.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11         16.    Over 46% of the Debtor’s total revenues come from government payors
         DENTONS US LLP




                                          12   and the remainder comes from a combination of private pay private insurance,
            (213) 623-9300




                                          13   individual patients, pharmacy, and government grants. Debtor’s sources of income,
                                          14   based on last twelve months financial data, include: (a) Medi-Cal - 44%; (b)
                                          15   Medicare - 3%, and; (c) private payors - 2%. Other sources of revenue include HRSA
                                          16   and other grants (as discussed below) and pharmacy operations.
                                          17         17.    A significant source of liquidity for the Debtor are grants from the
                                          18   Health Resources & Services Administration (“HRSA”), which is an agency of the
                                          19   U.S. Department of Health and Human Services. These grants vary in amounts and
                                          20   purposes, but generally are awarded for activities including: (a) retaining local
                                          21   community-based workforce to increase COVID-19 vaccine access; (b) as part of the
                                          22   American Rescue Plan Act Funding for Health Centers (commonly referred to as
                                          23   “ARP” funding); (c) Health Center Program Service Expansion - School Based
                                          24   Service Sites Program, (d) Health Center Infrastructure Support Program; and (e) for
                                          25   Health Center Programs (“HAC Program”). The HAC Program supports domestic
                                          26   public or private, nonprofit community-based and patient-directed organizations that
                                          27   provide primary health care services to the Nation’s medically underserved
                                          28   populations. The history of Debtor’s HRSA awarded grants is available at the HRSA

                                                                                        -5-
                                         Case 22-02384-LT11      Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 6 of 26



                                           1   website, at https://data.hrsa.gov/tools/find-grants. However, Debtor received more
                                           2   than $38 million from HRSA between 2021 and YTD 2022.
                                           3            18.   The Debtor has approximately over $5.2 million of cash on hand, $24
                                           4   million of anticipated future revenue from HRSA and other grants over the next
                                           5   twelve months, and over $6 million of collectible patient and pharmacy related
                                           6   receivables.    Given the Debtor’s operational and legal challenges, the Debtor
                                           7   currently operates at a monthly cash deficit of approximately $1.5 million.
                                           8            19.   The Debtor has no secured debt. The Debtor is not proposing or seeking
                                           9   any debtor-in-possession financing at this time.
                                          10      II.     CIRCUMSTANCES LEADING TO THE FILING OF THIS CASE
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
                                                        20.   In 2020, the Debtor’s Board of Trustees became aware that members of
         DENTONS US LLP




                                          12
            (213) 623-9300




                                               the Debtor’s leadership, certain landlords/contractors, and community dentists
                                          13
                                               orchestrated what appears to be significant fraud for their own personal enrichment
                                          14
                                               which involved filing false claims for dental services provided by contract dentists.
                                          15
                                               In November 2020, the California Department of Health Care Services (“DHCS”)
                                          16
                                               issued a temporary suspension of payments for Medi-Cal services because of an
                                          17
                                               ongoing fraud investigation into the outside, contract dental program. There were no
                                          18
                                               accusations of any fraudulent acts associated with the in-house dental program or
                                          19
                                               medical services. During the pendency of the suspension by DHCS, the Debtor
                                          20
                                               provided thousands of services without compensation.
                                          21
                                                        21.   Following the participation in a formal administrative meet and confer
                                          22
                                               process, on February 26, 2021, the Debtor entered into a settlement agreement with
                                          23
                                               the DHCS, pursuant to which DHCS agreed to lift the temporary suspension as it
                                          24
                                               pertained to the reimbursement of Medi-Cal medical services. The temporary
                                          25
                                               payment suspension remains in place with respect to dental services.
                                          26
                                                        22.   The Debtor has taken strong corrective actions and fully cooperated with
                                          27
                                               state and federal investigators. Among other steps taken by the Debtor in the fall of
                                          28

                                                                                         -6-
                                         Case 22-02384-LT11     Filed 09/12/22   Entered 09/12/22 14:54:43     Doc 7   Pg. 7 of 26



                                           1   2020, the Debtor has: (a) terminated individual executives and others suspected of
                                           2   involvement in the apparent fraud; (b) removed any tainted members from the Board;
                                           3   (c) hired new leadership and added new board members with a high level of integrity
                                           4   and experience; (d) agreed to the appointment of a monitor, and fully cooperated with
                                           5   that monitor; (e) diligently completed corrective action plans; (f) initiated lawsuits
                                           6   against the bad actors; (g) created a corporate compliance department and instituted
                                           7   a robust compliance program; and (h) engaged reputable legal, IT, accounting, and
                                           8   financial consultants to guide it on its path to full responsibility and integrity.
                                           9          23.   The Debtor initiated an internal investigation to identify wrongdoing by
                                          10   former associates, which led to the filing of pending litigation against the former
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   trustees, officers, and contract dentists. The schemes included selling useless assets
         DENTONS US LLP




                                          12   to Debtor at inflated prices, entering into one-sided agreements with Debtor to its
            (213) 623-9300




                                          13   detriment, committing and/or covering up healthcare fraud though improper billing
                                          14   of dental services, entering into leases with Debtor that were many times fair market
                                          15   rates and terms, paying themselves above-market salaries and benefits, and hiring
                                          16   friends and family members to work for Debtor and paying them above-market
                                          17   salaries.
                                          18          24.   The Debtor is committed to taking all necessary steps to make amends
                                          19   for any past wrong behavior of former individuals and to make sure it has controls
                                          20   and systems in place to prevent any fraud to California and federal programs again.
                                          21   The Debtor no longer provides contract dental services, but only in-house dental
                                          22   services.
                                          23          25.   While there were no accusations of any fraudulent acts associated with
                                          24   the in-house dental program, as set forth above, the Medi-Cal suspension on the
                                          25   Debtor’s in-house dental payments has resulted in the DHCS withholding more than
                                          26   $7 million otherwise payable to the Debtor.
                                          27

                                          28

                                                                                          -7-
                                         Case 22-02384-LT11     Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7    Pg. 8 of 26



                                           1         26.    In 2022, the Debtor, with the assistance of Ankura, developed and has
                                           2   been implementing a transformation plan which includes (i) revenue and profitability
                                           3   enhancement measures, and (ii) cost reductions and operational improvements.
                                           4         27.    As part of that plan, the Debtor addressed excessive overhead and
                                           5   staffing for its current revenue trends with terminations and layoffs of approximately
                                           6   245 in total and gave a WARN notice in connection therewith on or about December
                                           7   2, 2021 and May 25, 2022.
                                           8         28.    To date, the Debtor has implemented several initiatives in its
                                           9   transformation plan, leading to approximately $11.5 million improvement in net
                                          10   income on an annualized basis.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11         29.    The Debtor also recently sold three money losing RCHF affiliated
         DENTONS US LLP




                                          12   clinics located in Riverside, California to Neighborhood Healthcare, a California
            (213) 623-9300




                                          13   nonprofit public benefit corporation (“Neighborhood”).
                                          14         30.    Despite the Debtor’s best efforts, on August 26, 2022, DCHS notified
                                          15   the Debtor that its Medi-Cal payment, which constitute the majority of the Debtor’s
                                          16   revenue, would be suspended as of September 29, 2022. DCHS denied the Debtor’s
                                          17   request to extend the date or rescind the proposed suspension. Further, the Debtor
                                          18   has been notified by health plans, such as the Inland Empire Health Plan, that DCHS
                                          19   has instructed them to lodge, no later than September 9, 2022, “block transfer” plans
                                          20   with DHCS showing how the health plan would transfer all its members to other
                                          21   providers of medical services. I am informed and believe that this is not a sufficient
                                          22   amount of time to transition the more than 90,000 patients treated annually by the
                                          23   Debtor to alternative care safely, and that there are simply no alternatives within a
                                          24   reasonable distance for many of Debtor’s patients.
                                          25         31.    The Debtor is filing this Case first to protect its patient population and
                                          26   explore all available restructuring options, particularly since its patient population
                                          27   faces risks as a result of recent steps taken by DHCS.
                                          28

                                                                                         -8-
                                         Case 22-02384-LT11     Filed 09/12/22   Entered 09/12/22 14:54:43     Doc 7   Pg. 9 of 26



                                           1                              III.   FIRST DAY MOTIONS
                                           2
                                                     32.    On September 12, 2022 (the “Petition Date”), the Debtor filed a
                                           3
                                               voluntary petition for relief under Chapter 11 of Title 11 of the United States Code
                                           4
                                               (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
                                           5
                                               District of California (the “Bankruptcy Court”). The Debtor requests that the relief
                                           6
                                               described below in the First Day Motions be granted, as each request constitutes a
                                           7
                                               critical element in achieving the successful restructuring of the Debtor for the benefit
                                           8
                                               of its patients, creditors and the communities they serve. The Debtor intends to
                                           9
                                               request for immediate relief with respect to the following First Day Motions and,
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500




                                               therefore, will present these motions at the hearing.
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
                                                     a.    Debtor’s Emergency First Day Motion For Entry Of Order: (I)
         DENTONS US LLP




                                          12   Authorizing The Debtor To (A) Pay Prepetition Employee Wages And Salaries,
            (213) 623-9300




                                          13   And (B) Pay And Honor Employee Benefits And Other Workforce Obligations;
                                               (II) Authorizing the Debtor to Pay Prepetition Agency Payment Obligations; And
                                          14   (III) Authorizing And Directing The Applicable Bank To Pay All Checks And
                                          15   Electronic Payment Requests Made By The Debtor Relating To The Foregoing;
                                               Memorandum Of Points And Authorities In Support Thereof (the “Wage
                                          16
                                               Motion”).
                                          17
                                                     33.    By the Wage Motion, the Debtor moves the Court for entry of an order:
                                          18
                                               (i) authorizing, but not directing, the Debtor, in its discretion, to (a) pay or honor any
                                          19
                                               outstanding prepetition wages, salaries, employee benefits, and other compensation,
                                          20
                                               (b) remit withholding obligations, (c) maintain workers’ compensation and benefits
                                          21
                                               programs, (d) pay related administration obligations, and (e) pay reimbursable
                                          22
                                               employee expenses (collectively, the “Employee Obligations”), with payments to
                                          23
                                               each employee not to exceed the statutory limit for priority claims of $15,150; (ii)
                                          24
                                               authorizing, but not directing, the Debtor, in its discretion, to pay its Temporary Staff
                                          25
                                               (defined herein) for work performed prepetition via payment of Agency Payment
                                          26
                                               Obligations (defined herein), with payments for each Temporary Staff member’s
                                          27
                                               prepetition services not to exceed the statutory limit for priority claims of $15,150;
                                          28

                                                                                          -9-
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43    Doc 7   Pg. 10 of 26



                                           1   and (iii) authorizing and directing the applicable bank to pay all checks and electronic
                                           2   payment requests made by the Debtor relating to the foregoing.
                                           3         i.     The Debtor’s Employees and Temporary Staff
                                           4         34.    The Debtor employs approximately 697 employees, of which 631 are
                                           5   full-time and 66 are part time employees (collectively, the “Employees”).
                                           6         35.    Full-time, regular part-time and part-time (“core”) Employees are
                                           7   regularly scheduled to work every pay period. Temporary and per diem Employees
                                           8   are used on an as-needed basis. Per diem Employees are called in whenever medical
                                           9   clinics cannot otherwise meet their core staffing requirements – for example, when
                                          10   core Employees are sick or on vacation, or there is a spike in patient census. Also,
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   because California requires the medical centers to maintain specific nurse-to-patient
         DENTONS US LLP




                                          12   ratios, the Debtor uses per diem Employees to ensure the medical centers are in
            (213) 623-9300




                                          13   compliance with those requirements.
                                          14         36.    In addition to the Employees, the Debtor regularly utilizes temporary
                                          15   staff members (the “Temporary Staff”) each of whom is hired through one or several
                                          16   temporary employment agencies that has a contract with the Debtor, notably Roth
                                          17   Staffing (“Roth”), CompHealth Medical Staffing (“CompHealth”) and AB Staffing
                                          18   (“AB,” together with Roth and CompHealth, the “Agencies”). The number of
                                          19   Temporary Staff fluctuates based on the Debtor’s needs. Temporary Staff are not
                                          20   employees of the Debtor, and accordingly, are not eligible to participate in any
                                          21   employee benefits, health, or welfare plans. The Agencies pay the wages of the
                                          22   Temporary Staff and bill the Debtor on a weekly or monthly basis for the Temporary
                                          23   Staff (the “Agency Payment Obligations”). The Debtor estimates that it will pay
                                          24   Temporary Staff approximately $120,000 per month during this Case. As of the
                                          25   Petition Date, the Debtor estimates that approximately $120,000 of Agency Payment
                                          26   Obligations are outstanding. Payment of these Agency Payment Obligations is
                                          27   necessary to avoid harm to moral of the Temporary Staff and prevent any negative
                                          28   impact on Patient care. Accordingly, the Debtor requests authority to pay the Agency

                                                                                        - 10 -
                                         Case 22-02384-LT11      Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 11 of 26



                                           1   Payment Obligations, as part of its ordinary course of business, whether the amounts
                                           2   are for services that arose pre or post-petition. The Debtor does not believe that any
                                           3   payment to an individual member of the Temporary Staff exceeds the $15,150
                                           4   priority cap under section 507(a)(4) of the Bankruptcy Code.
                                           5         ii.       Prepetition Wages, Payroll and Associated Benefits
                                           6         37.       The Employees are paid wages and salaries (the “Wages”) bi-weekly, in
                                           7   arrears, either five or six days after the end of every 14-day pay period, through direct
                                           8   deposit or by check. The Debtor’s average bi-weekly gross payroll is approximately
                                           9   $2,100,000, which includes approximately $90,000 for executive payroll and
                                          10   $600,000 for withholding obligations (relating to various taxes, claims and other
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   obligations).
         DENTONS US LLP




                                          12         iii.      The Debtor’s Third-Party Payroll System
            (213) 623-9300




                                          13         38.       The Debtor pays Employees on the even weeks, on Fridays for the
                                          14   preceding 14-day pay period running from Monday to Sunday. The Debtor’s payroll
                                          15   is disbursed by Ceridian, a supplier of human resources and document services that
                                          16   provides the Debtor with payroll management and administration services. The
                                          17   Debtor normally funds its payroll to Ceridian on Wednesday prior to the pay date.
                                          18         39.       The date on which Employees were last paid was September 2, 2022 for
                                          19   the two-week period ending August 28, 2022.
                                          20         40.       Due to the imminent filing of this Case and the Debtor’s desire to ensure
                                          21   that Employees receive timely payment for Wages earned prepetition, the Debtor
                                          22   prefunded the Employees’ next routine payroll scheduled for September 16, 2022
                                          23   (the “September 16th Payroll”) by payment to Ceridian on Thursday, September 8,
                                          24   2022. The September 16th Payroll is scheduled to be disbursed by Ceridian using
                                          25   the prefunded funds on September 16, 2022. The relief sought by this Motion seeks
                                          26   authority to make this scheduled payment without interruption.
                                          27         41.       As of the Petition Date, the Debtor will owe Ceridian approximately
                                          28   $5,000 with respect to its processing of payroll and related payroll administration

                                                                                          - 11 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 12 of 26



                                           1   matters (the “Administration Fees”). The Debtor requests authority to pay Ceridian
                                           2   the prepetition amount of $5,000 and to pay the post-petition Ceridian Administration
                                           3   Fees in the ordinary course of the Debtor’s business.
                                           4         42.    Accordingly, the Debtor seeks authority to pay any prepetition Wages
                                           5   that may remain outstanding, with payments to each Employee not to exceed the
                                           6   statutory limit for priority claims of $15,150, and to continue to pay Wages to
                                           7   Employees incurred post-petition in the ordinary course of the Debtor’s business.
                                           8         iv.    The Debtor’s Withholding Obligations
                                           9         43.    In the ordinary course of its business, the Debtor routinely withholds
                                          10   from the Wages certain amounts that the Debtor is required to transmit to the
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   government and certain third parties for purposes such as Social Security and
         DENTONS US LLP




                                          12   Medicare withholdings, federal and state or local income taxes, contributions to the
            (213) 623-9300




                                          13   Debtor’s benefit plans, savings and retirement plan contributions, garnishment, child
                                          14   support or other similar obligations pursuant to court order or law (collectively, the
                                          15   “Withholding Obligations”). The Debtor pre-funded approximately $600,000 for
                                          16   Withholding Obligations – including payments for tax obligations (the “Employer
                                          17   Tax Obligations”) such as FICA and Social Security – in connection with the
                                          18   payment of September 16th Payroll. Accordingly, the Debtor seeks authority to pay
                                          19   any prepetition Withholding Obligations that remain outstanding on account of
                                          20   prepetition Wages; and to continue to pay Withholding Obligations incurred post-
                                          21   petition in the ordinary course of the Debtor’s business.
                                          22         v.     Business Expense Reimbursements
                                          23         44.    The Debtor customarily reimburses Employees who incur business
                                          24   expenses in the ordinary course of performing their duties on behalf of the Debtor.
                                          25   Such expenses typically include, but are not limited to, business-related travel
                                          26   expenses (including mileage), business meals, relocation allowances, tuition
                                          27   reimbursement, and other items specified in the Borrego Health Employee Handbook
                                          28   (the “Reimbursement Obligations”). Expense reports detailing the Reimbursement

                                                                                        - 12 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7     Pg. 13 of 26



                                           1   Obligations are submitted for reimbursement by the Employees and generally must
                                           2   be supported by copies of receipts.
                                           3         45.    It is difficult for the Debtor to determine the exact amount of
                                           4   Reimbursement Obligations that is due and owing for any particular time period since
                                           5   the expenses incurred by Employees on behalf of the Debtor throughout the year vary
                                           6   on a monthly basis and because there may be some delay between when an Employee
                                           7   incurs an expense and submits the corresponding expense report for processing.
                                           8   Based on historical experience, the Debtor anticipates that, as of the Petition Date,
                                           9   the Debtor owes an estimated $20,000 in Reimbursement Obligations. Accordingly,
                                          10   the Debtor seeks authority to pay prepetition Reimbursement Obligations to its
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   Employees. The Debtor further seeks to continue to pay Reimbursement Obligations
         DENTONS US LLP




                                          12   incurred postpetition in the ordinary course of the Debtor’s business.
            (213) 623-9300




                                          13         vi.    Bonuses
                                          14         46.    Certain Employees are eligible to receive sign-on bonuses (the
                                          15   “Bonuses”). Sign-on bonuses are provided to candidates for employment in hard-to-
                                          16   fill or critical vacancies. Sign-on bonuses are provided for candidates as a recruiting
                                          17   incentive in accordance to, and consistent with, industry standards.
                                          18         47.    The Debtor is not, by this Motion, seeking permission to pay any
                                          19   Bonuses to continuing Employees, but does seek the authority, in the Debtor’s
                                          20   discretion, to pay the Employees on account of contractually agreed bonuses that
                                          21   accrued within the 180 days prior to the Petition Date when their services with the
                                          22   Debtor are terminated up to and in accordance with section 507(a)(4)’s limit for
                                          23   priority claims of $15,150, taking into account (and not exceeding) all payments
                                          24   made on account of each Employee’s priority prepetition Employee Obligations and
                                          25   Bonuses.
                                          26         vii.   Paid Time Off
                                          27         48.    Both regular full-time and regular part-time Employees are eligible for
                                          28   Paid Time Off (“PTO”). Eligible Employees may begin to use any accrued PTO time

                                                                                        - 13 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 14 of 26



                                           1   after 90 days of employment. The Debtor pays all accrued but unused PTO when an
                                           2   Employee leaves the Debtor.
                                           3         49.   Eligible Employees accrue PTO annually based on hours worked up to
                                           4   forty (40) hours per week. The maximum number of PTO hours Employees can
                                           5   accrue each year increases based on an Employee’s continuous length of service.
                                           6   When the maximum accrual cap for an Employee is reached, no further PTO will
                                           7   accrue until the Employee uses some of the accrued PTO. As of the Petition Date,
                                           8   the Debtor is carrying approximately $2,300,000 on its books for 94,000 hours of
                                           9   accrued and unused PTO.
                                          10         50.   The Debtor seeks authority to honor its existing PTO policies to the
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   extent it would permit continuing Employees to use their prepetition accrued leave
         DENTONS US LLP




                                          12   in the ordinary course of business, and going forward. The Debtor seeks the
            (213) 623-9300




                                          13   authority, in its discretion, to pay the Employees for unused PTO, as permitted per
                                          14   employment policy, that accrued within the 180 days prior to the Petition Date so
                                          15   long as the total of the payments already then made for other prepetition Employee
                                          16   Obligations and the PTO does not exceed the statutory limit for priority claims of
                                          17   $15,150.
                                          18         viii. Employee Benefits
                                          19         51.      The Debtor offers full-time Employees the opportunity to participate
                                          20   in a number of insurance and benefit programs, including, among other things,
                                          21   medical, dental and vision plans, life insurance, short-term and long-term disability
                                          22   insurance, workers’ compensation, retirement plans and other insurance plans and
                                          23   benefits as described below (collectively, the “Employee Benefits”).
                                          24         a.    Medical, Vision and Dental Insurance
                                          25         52.   The Debtor offers all eligible Employees and their eligible dependents
                                          26   (collectively, the “Dependents”) medical, dental and vision insurance, which are
                                          27   primarily self-insured by the Debtor with the exceptions set forth below.
                                          28

                                                                                        - 14 -
                                         Case 22-02384-LT11       Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 15 of 26



                                           1         53.        For medical, the Debtor offers eligible Employees a self-insured
                                           2   preferred provider organization plan (the “Self-Insured Medical Plan”). Meritain
                                           3   Health is the third-party administrator for all medical and prescription drug claims
                                           4   against the Self-Insured Medical Plan.
                                           5         54.        Depending on whether and how many Dependents are covered, the
                                           6   Debtor’s and Employees’ respective monthly costs for the Self-Insured Medical Plan
                                           7   fall within the following ranges:
                                           8
                                                         Plan                          Monthly      Employer Monthly        Employee
                                           9
                                                                                       Cost                     Cost
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                                         Self-Insured Medical Plan $550,000 - $3,400,000 $50,000 - $60,000
                                          11
                                                     55.        The Self-Insured Medical Plan is on a self-bill model, whereby the
         DENTONS US LLP




                                          12
            (213) 623-9300




                                               Debtor pays to Meritain Health: (i) monthly administration fees based on the number
                                          13
                                               of insured Employees in the prior month and (ii) actual medical claims. As of the
                                          14
                                               Petition Date, the Debtor believes it does not owe any prepetition administration fees
                                          15
                                               to Meritain Health. As of the Petition Date, the Debtor owed approximately $1.3
                                          16
                                               million to Meritain Health on account of accrued and unpaid prepetition claims
                                          17
                                               against the Self-Insured Medical Plan.
                                          18
                                                     56.        For dental, the Debtor offers two MetLife plans (together, the “Dental
                                          19
                                               Plans”). The Debtor bears between approximately 75% and 80% of the costs of the
                                          20
                                               Dental Plans. Depending on the Employees’ Dependent status, the Debtor’s and
                                          21
                                               Employees’ respective monthly costs for the Dental Plans fall within the following
                                          22
                                               ranges:
                                          23

                                          24

                                          25

                                          26

                                          27

                                          28

                                                                                           - 15 -
                                         Case 22-02384-LT11    Filed 09/12/22    Entered 09/12/22 14:54:43   Doc 7   Pg. 16 of 26



                                           1
                                                      Plan                           Monthly      Employer Monthly        Employee
                                           2
                                                                                     Cost                     Cost
                                           3
                                                      MetLife DHMO                   $6,000 - $10,000         $2,000 - $5,000
                                           4
                                                      MetLife PPO                    $35,000 - $55,000        $10,000 - $15,000
                                           5
                                                     57.     As of the Petition Date, the Debtor does not owe any amount to MetLife
                                           6
                                               on account of accrued and unpaid prepetition claims against the Dental Plans. Also,
                                           7
                                               as of the Petition Date, the Debtor believes it does not owe any prepetition
                                           8
                                               administration fees to MetLife.
                                           9
                                                     58.     For vision, the Debtor offers one MetLife plan (the “Vision Plan,” and
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                               together with the Medical Plans and the Dental Plans, the “Health Plans”). The
                                          11
                                               Debtor pays up to 80% of the costs of the Vision Plan. Depending on the Employees’
         DENTONS US LLP




                                          12
            (213) 623-9300




                                               Dependent status, the Debtor’s and Employees’ respective monthly costs for the
                                          13
                                               Vision Plan falls within the following ranges:
                                          14

                                          15          Plan                           Monthly      Employer Monthly        Employee
                                          16                                         Cost                    Cost
                                          17          MetLife Vision                 $4,000 - $5,000         $800 - $1,000
                                          18         59.     As of the Petition Date, the Debtor does not owe any amount to MetLife
                                          19   on account of accrued and unpaid prepetition claims against the Vision Plan. Also,
                                          20   as of the Petition Date, the Debtor believes it does not owe any prepetition
                                          21   administration fees to MetLife.
                                          22         60.     The Debtor believes that it is current on the administration fees and
                                          23   premiums related to the Health Plans. To the extent it is not, however, the Debtor
                                          24   seeks authority to pay its portion of any premiums or administration fees for the
                                          25   Health Plans that accrued and remain unpaid as of the Petition Date as and when they
                                          26   come due. The Debtor also seeks authority to continue to pay, in its discretion and
                                          27   in the ordinary course of its business, the administration fees, premiums for and
                                          28   claims under the Health Plans incurred postpetition.
                                                                                         - 16 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43    Doc 7   Pg. 17 of 26



                                           1         61.     For similar reasons, the Debtor seeks to continue to perform any
                                           2   obligations under section 4980B of the Internal Revenue Code to administer
                                           3   Continuation Health Coverage (“COBRA”) in respect to former employees. The
                                           4   Debtor believes that any prepetition costs related to COBRA coverage benefits are
                                           5   de minimis, but nonetheless, to maintain Employee morale and ensure the orderly
                                           6   administration of the estate, the Debtor requests authority to pay in its discretion any
                                           7   such prepetition costs.
                                           8         b.      Employee Life, Disability, Workers’ Compensation and
                                           9         Unemployment
                                          10         62.     The Debtor offers eligible Employees premium based group life
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   insurance and supplemental life insurance (collectively, “Life Insurance”) and
         DENTONS US LLP




                                          12   accidental death and dismemberment insurance (“AD&D”) through MetLife. The
            (213) 623-9300




                                          13   Debtor provides Employees Life Insurance coverage in the amount of $50,000 with
                                          14   premiums and other related charges paid 100% by the Debtor and total approximately
                                          15   $12,000 monthly on account of approximately 623 Employees. The Debtor provides
                                          16   Employees AD&D coverage in the amount of $50,000 with premiums and other
                                          17   related charges paid 100% by the Debtor and total approximately $2,000 monthly on
                                          18   account of approximately 623 Employees.
                                          19         63.     The Debtor also offers eligible Employees premium based short term
                                          20   (“ST”) through Colonial.     The Debtor pays 100% of premiums and other related
                                          21   charges for ST, totaling approximately $8,000 monthly, on account of 53 Employees.
                                          22         64.     The Debtor also provides workers’ compensation insurance through
                                          23   BETA Healthcare (the “Workers’ Compensation Insurance”). The amount of the
                                          24   annual premium is approximately $1,179,361 which is paid monthly in the amount
                                          25   of $98,280.
                                          26         65.     The Debtor also provides self-insured unemployment claim insurance
                                          27   (the “Unemployment Insurance Plan”) for Employees. The Debtor’s quarterly costs
                                          28   under the Unemployment Insurance Plan averages between $130,000 and $330,000.

                                                                                        - 17 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 18 of 26



                                           1   501(c) Agencies Trust is the third-party administrator for all unemployment claims
                                           2   against the Unemployment Insurance Plan.
                                           3         66.    The Unemployment Insurance Plan is on a self-bill model, whereby the
                                           4   Debtor pays to 501(c) Agencies Trust: (i) monthly administration fees based on the
                                           5   number of insured Employees in the prior month and (ii) actual unemployment
                                           6   claims. As of the Petition Date, the Debtor believes it does not owe 501(c) Agencies
                                           7   Trust for any prepetition administration fees or any outstanding unemployment
                                           8   claims.
                                           9         67.    In addition, as of the Petition Date, the Debtor owes approximately
                                          10   $4,000 to Aetna Resources for Living under an employee assistance program.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11         68.    The Debtor believes that it is current on all the above mentioned
         DENTONS US LLP




                                          12   insurance policies and claims obligations. To the extent it is not, however, the Debtor
            (213) 623-9300




                                          13   seeks authority, in its discretion, to pay any accrued and unpaid prepetition premiums
                                          14   and related charges and to continue the above benefits postpetition and to deliver the
                                          15   Employees’ portion of any accrued and unpaid prepetition premiums to the
                                          16   corresponding administrators in connection with the payment of the Wages and
                                          17   Withholding Obligations.
                                          18         c.     Retirement Plans
                                          19         69.    The Debtor also offers eligible Employees the opportunity to participate
                                          20   in a defined 401(k) contribution plan through Principal (as recordkeeper) that allows
                                          21   for voluntary employee pre-tax deferrals (the “401(k) Plan”).              Employees
                                          22   participating in this program may contribute up to the federal statutory cap per year,
                                          23   and the Debtor deducts the employee pre-tax deferrals from Employee paychecks for
                                          24   each pay-cycle. Failure to timely forward the Employees’ 401(k) Plan deductions
                                          25   may be a violation of the Employee Retirement Income Security Act of 1974, as
                                          26   amended (“ERISA”), resulting in potential liability for the Debtor’s officers.
                                          27   Maintaining the 401(k) Plan as a part of the Employee Benefit Programs is critical to
                                          28   maintaining employee morale.

                                                                                        - 18 -
                                         Case 22-02384-LT11    Filed 09/12/22    Entered 09/12/22 14:54:43   Doc 7   Pg. 19 of 26



                                           1         70.    The Debtor seeks authority to transfer Employee contributions in
                                           2   connection with the payment of Wages and withholding obligations described above.
                                           3   Administration fees for the 401(k) Plan are paid by Employee participants. The
                                           4   Debtor does not believe any 401(k) Plan payments will cause the total payments
                                           5   made for prepetition Employee obligations to exceed the statutory limit for priority
                                           6   claims of $15,150; however, if that is not the case, the Debtor believes that standard
                                           7   administration costs related to these retirement benefits are de minimis, and the
                                           8   Debtor requests authority to pay in its discretion any such prepetition costs to
                                           9   maintain employee morale and ensure the orderly administration of the estate.
                                          10         d.     Miscellaneous Employee Benefit Plans
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11         71.    Employees have the option to join the AirMedCare (Air Ambulance
         DENTONS US LLP




                                          12   Benefit) Network via $50 payroll-deducted annual membership fee. All of these
            (213) 623-9300




                                          13   programs are 100% funded by the Employees and are paid for through payroll
                                          14   deductions. The Debtor requests authority to continue to honor these programs, in
                                          15   its discretion, and to continue distributing to third parties the payments for these
                                          16   programs in connection with the payment of Wages and Withholding Obligations as
                                          17   described above, including the distributions of payments that are for prepetition
                                          18   amounts due.
                                          19         ix.    Support for Relief
                                          20         72.    The Debtor believes that substantially all of its Employees and
                                          21   Temporary Staff rely exclusively on their compensation to pay their daily living
                                          22   expenses. Also, the Employee Benefit Programs are a critical component of the
                                          23   Employees’ total compensation package. It is imperative to the accomplishment of
                                          24   the Debtor’s goals in this Case that the Debtor minimizes any adverse impact of the
                                          25   chapter 11 filing on the Debtor’s workforce, patients, operations, and orderly
                                          26   administration of this Case. Any disruption to payment of the payroll in the ordinary
                                          27   course, or to the continued implementation of employee programs in the Debtor’s
                                          28   discretion, would adversely affect the Debtor’s goals in this Case because such events

                                                                                         - 19 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 20 of 26



                                           1   are likely to cause some employees to terminate their employment with the Debtor,
                                           2   will cause employees to be distracted from their duties to care for the patients, and
                                           3   will hurt employee morale at a particularly sensitive time for all employees. Failure
                                           4   to honor the Employee Obligations or Agency Payment Obligations could have
                                           5   severe repercussions on the Debtor’s ability to preserve its assets and administer its
                                           6   estate, to the detriment of all constituencies. Accordingly, as set forth in the Wage
                                           7   Motion, the Debtor requests authority to continue paying the Employees and
                                           8   Temporary Staff and administering the Employee Benefit Programs and any
                                           9   obligations related to the foregoing (subject to any applicable priority payment caps
                                          10   in the Bankruptcy Code) in the ordinary course of business.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11         b.     Emergency First Day Motion Of Debtor For Authority To: (1)
                                               Continue Using Existing Cash Management System, Bank Accounts And Business
         DENTONS US LLP




                                          12
            (213) 623-9300




                                               Forms; (2) Implement Changes To The Cash Management System In The
                                          13   Ordinary Course Of Business; (3) Remit Capitation Payments to the Purchaser of
                                               the Riverside Clinics; And (4) Obtain Related Relief; Memorandum Of Points And
                                          14
                                               Authorities In Support Thereof (the “Cash Management Motion”).
                                          15
                                                     73.    By the Cash Management Motion, the Debtor moves the Court for the
                                          16
                                               entry of an order authorizing it to: (1) continue to use its cash management system,
                                          17
                                               including the continued maintenance of its existing bank accounts and business
                                          18
                                               forms; (2) implement changes to its cash management system in the ordinary course
                                          19
                                               of business, including opening new or closing existing bank accounts; (3) remit
                                          20
                                               capitation payments to or as directed by the purchaser of the Riverside Clinics (as
                                          21
                                               discussed below); and (4) obtain related relief.
                                          22
                                                     74.    The Debtor further requests, in the Cash Management Motion, that the
                                          23
                                               Court authorize the financial institutions at which the Debtor’s maintain various bank
                                          24
                                               accounts to (a) continue to maintain, service and administer the Debtor’s bank
                                          25
                                               accounts, and (b) debit the bank accounts in the ordinary course of business on
                                          26
                                               account of (i) wire transfers or checks drawn on the bank accounts, or (ii) undisputed
                                          27

                                          28

                                                                                        - 20 -
                                         Case 22-02384-LT11      Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 21 of 26



                                           1   service charges owed to the Banks for maintenance of the Debtor’s cash management
                                           2   system, if any.
                                           3          75.     The Debtor currently has 6 accounts (the “Accounts”) with two
                                           4   commercial banks, City National Bank (“CNB”) and Community Valley Bank
                                           5   (“CVB” and together with CNB collectively the “Banks”). CNB is an authorized
                                           6   depository institution for District 16 under the guidelines of the Office of the United
                                           7   States Trustee. See Notice Of Requirements For Chapter 11 Debtors In Possession,
                                           8   available at www.usdoj.gov/ust/r16. CVB is not currently an authorized depository
                                           9   institution.
                                          10          76.     Two of the CVB accounts are used to deposit receipts which would be
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   difficult to get the payors to quickly redirect to the CNB collection account. The
         DENTONS US LLP




                                          12   Debtor proposes to keep those two CVB accounts open, but to sweep each CVB
            (213) 623-9300




                                          13   account to the City National Bank ending in in 1993 whenever the balance in a CVB
                                          14   account exceeds $10,000. The Debtor will promptly close the CVB account ending
                                          15   in 8653.
                                          16          77.     The Debtor requests authority to continue utilizing the Accounts.
                                          17   Requiring the Debtor to close certain of the Accounts and open new ones will disrupt
                                          18   the Debtor’s cash flow – and, ultimately, impact patient care – because (i) the
                                          19   depositors (some of which are governmental agencies) will not respond quickly to
                                          20   the change and will likely continue to send deposits to the original deposit account,
                                          21   and (ii) the Debtor has certain obligations that they pay exclusively by electronic
                                          22   funds transfer and changes to the payment accounts have the potential of slowing
                                          23   down these crucial payments. Closing the Accounts will also increase the work of
                                          24   the Debtor’s accounting personnel, who are already dealing with the many and varied
                                          25   issues related to this Case. Closing the Accounts and opening new ones under the
                                          26   circumstances described in the corresponding Memorandum of Points and
                                          27   Authorities would needlessly cost the Debtor time and money at a time when they
                                          28

                                                                                          - 21 -
                                         Case 22-02384-LT11      Filed 09/12/22    Entered 09/12/22 14:54:43        Doc 7    Pg. 22 of 26



                                           1   are trying to conserve both, and would result in no discernible benefit to the Debtor’s
                                           2   bankruptcy estate.
                                           3          78.    The Debtor also has under $15,000 of petty cash on hand at its various
                                           4   facilities.
                                           5          79.    The Debtor also requests in the Cash Management Motion authority to
                                           6   continue using its business forms without the designation “Debtor in Possession” on
                                           7   it for a limited time. The Debtor’s forms are either electronically printed or can be
                                           8   electronically altered. The Debtor seeks the authority of this Court to utilize its
                                           9   electronically generated forms without the “Debtor in Possession” designation until
                                          10   the adjustments to the software can be initiated and existing stock is exhausted.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11          80.    As discussed herein, the Debtor recently sold the assets of the Riverside
         DENTONS US LLP




                                          12   Clinics1 to Neighborhood and in connection with that transaction, the Debtor agreed
            (213) 623-9300




                                          13   to collect on behalf of Neighborhood and remit to Neighborhood certain capitation
                                          14   payments related to the Riverside Clinics for a transition period ending on or about
                                          15   October 1, 2022. Debtor views those funds as belonging to Neighborhood and not
                                          16   constituting property of the Debtor’s bankruptcy estate and proposed to remit those
                                          17   funds as received to or as directed by Neighborhood.
                                          18          81.    In the Cash Management Motion, the Debtor requests that the Court
                                          19   authorize it to continue using its cash management system in connection with the
                                          20   continued use of Accounts and continued use of the Debtor’s business forms; in
                                          21   furtherance thereof, the Debtor further requests that the Court authorize and direct
                                          22   the Banks to continue honoring the Debtor’s transactions.
                                          23

                                          24

                                          25   1
                                                 The term “Riverside Clinics” references all assets, property and rights of the Debtor related to
                                          26   the operations of the following outpatient clinics located in Riverside County, California: (i)
                                               Eastside Health Center Building A, located at 1970 University Ave., Riverside, CA; (ii) Eastside
                                          27   Health Center Building B, located at 1971 University Ave., Riverside CA; and (iii) Arlanza
                                               Family Health Center, located at 8856 Arlington Ave., Riverside, CA (collectively, the “Riverside
                                          28
                                               Clinics”).
                                                                                             - 22 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43    Doc 7   Pg. 23 of 26



                                           1          c.    Emergency First Day Motion Of Debtor For Order (A) Prohibiting
                                           2   Utilities From Altering, Refusing, Or Discontinuing Service And (B) Determining
                                               Adequate Assurance Of Payment For Future Utility Services (the “Utilities
                                           3   Motion”).
                                           4         82.    By the Utilities Motion, the Debtor moves the Court for the entry of an
                                           5   order authorizing it to (i) prohibiting utilities (collectively, the “Utility Companies”
                                           6   and individually, a “Utility Company”) from altering, refusing, or discontinuing
                                           7   service without further order of the Court; and (ii) determining adequate assurance
                                           8   of payment for future utility services. The Debtor receives essential utility services
                                           9   from several Utility Companies. Furthermore, the Debtor seeks a determination that:
                                          10   (i) a deposit made by the Debtor to each Utility Company in an amount equal to the
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   one-half of the average monthly invoice for prepetition services provided to the
         DENTONS US LLP




                                          12   Debtor by such Utility Company (the “Deposit”) as set forth in Exhibit A to the
            (213) 623-9300




                                          13   Utilities Motion; (ii) the ability of any Utility Company to obtain an initial hearing
                                          14   on the adequacy of the Deposit; and (iii) the ability of any Utility Company to obtain
                                          15   an expedited hearing regarding further adequate assurance if the Debtor fail to cure
                                          16   a post-petition payment default within twenty (20) days after written notice of such
                                          17   default, constitute adequate assurance of payment for future utility services.
                                          18         83.    As life-saving medical service providers, the Debtor is situated in a
                                          19   vulnerable position―without the continual flow of vital services of Utility
                                          20   Companies, the mission of the Debtor’s business would unravel, irreparably harming
                                          21   the Debtor and its patients who seek medical care in the hospitals, medical centers,
                                          22   and clinics operated by the Debtor. Thus, I believe that in order to ensure the timely
                                          23   and proper care of the patients and maintain ongoing business operations, it is
                                          24   imperative the Debtor is able to rely on a consistent supply of these services.
                                          25         84.    Specifically, uninterrupted electricity, gas, telephone, and similar
                                          26   services are essential to the Debtor’s provision of medical services to the Debtor’s
                                          27   patients. Any interruption, however brief, to utility services to the Debtor’s business
                                          28   will result in a serious disruption of the Debtor’s business operations and
                                                                                        - 23 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43    Doc 7    Pg. 24 of 26



                                           1   dramatically affect patient care. Therefore, I believe that it is critical that the Court
                                           2   prohibit the Utility Companies from altering, refusing or discontinuing service to the
                                           3   Debtor without further order of this Court. The Deposit for each of the Utility
                                           4   Companies, coupled with the streamlined mechanism for requesting further adequate
                                           5   assurance will provide adequate assurance of payment to the Utility Companies as
                                           6   well as safeguard the Debtor’s continuing operations.
                                           7         85.    The Debtor is current on payment to the Utility Companies. Further, the
                                           8   Debtor has sufficient cash to pay its postpetition utility bills as they come due.
                                           9         d.    Emergency First Day Motion Of Debtor For (I) Authorizing the
                                               Debtor to (A) Maintain Insurance Program, (B) Pay Insurance Premiums and
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500




                                               Brokerage Commissions in the Ordinary Course; (C) Continue Its Premium
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   Financing Program; and (D) Pay All Obligations Associated Therewith; and (II)
                                               Preventing Insurance Companies From Enforcing Ipso Facto Clauses or Giving
         DENTONS US LLP




                                          12
            (213) 623-9300




                                               Any Notice of Termination or Otherwise Modifying Any Insurance Policy Without
                                          13   Obtaining Relief From the Automatic Stay (the “Insurance Motion”).
                                          14         86.    In the Insurance Motion, the Debtor requests (I) Authority to (A)
                                          15   Maintain Its Insurance Program, (B) Pay Insurance Premiums and Brokerage
                                          16   Commissions in the Ordinary Course; (C) Continue Its Premium Financing
                                          17   Program; and (D) Pay All Obligations Associated Therewith; and (II) Prevent
                                          18   Insurance Companies From Enforcing Ipso Facto Clauses or Giving Any Notice of
                                          19   Termination or Otherwise Modifying Any Insurance Policy Without Obtaining
                                          20   Relief From the Automatic Stay.
                                          21         87.    The Debtor maintains various insurance policies issued by several
                                          22   insurance carriers (collectively, the “Insurance Carriers”).        Collectively, these
                                          23   policies provide for coverage for, among other things: workers’ compensation and
                                          24   employers liability, general liability, and professional liability, commercial property,
                                          25   commercial automobile, employee benefits and other coverage (collectively, the
                                          26   “Insurance Policies”). A schedule and summary of the Insurance Policies is attached
                                          27   as Exhibit B to the Insurance Motion. As set forth in Exhibit B to the Insurance
                                          28   Motion, most of the Debtor’s Insurance Policies will expire beginning on March 1,
                                                                                         - 24 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43    Doc 7   Pg. 25 of 26



                                           1   2023 or later. It is critical that the Debtor continues to carry the necessary insurance
                                           2   coverage to operate its business. The Debtor seeks the authority to renew, modify,
                                           3   extend or enter into new Insurance Policies (collectively, the “New Insurance
                                           4   Policies”) on a postpetition basis in the ordinary course of business.
                                           5         88.    In certain instances, the Debtor pays premiums for its Insurance Policies
                                           6   in full at the beginning of the policy and in other instances in monthly installments
                                           7   as reflected in Exhibit B to the Insurance Motion. Debtor also has premium financing
                                           8   in place for certain of its policies. To ensure continued insurance coverage in the
                                           9   ordinary course of the Debtor’s business, the Debtor seeks the authority to pay all
                                          10   premium payments or insurance financing payments that may come due on current
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   Insurance Policies during the course of this Case. The Debtor also seeks authority to
         DENTONS US LLP




                                          12   pay all premiums associated with the New Insurance Policies on a postpetition basis
            (213) 623-9300




                                          13   in the ordinary course of business.
                                          14         89.    The Debtor also seeks authority to pay its deductibles and self-insured
                                          15   retention amounts such amounts come due on a postpetition basis, including any
                                          16   amounts accrued and not due as of the Petition Date, in the ordinary course of
                                          17   business.
                                          18         90.    The Debtor’s insurance brokers are Marsh McLennan Agency and
                                          19   Arthur J. Gallagher. Debtor seeks to pay brokerage commission and other amounts
                                          20   due to its brokers in the ordinary course of business.
                                          21         91.    The Debtor also seeks to pay any claims administration costs in the
                                          22   ordinary course of business.
                                          23         92.    The Debtor estimates that the total amount of pre-petition amounts owed
                                          24   related to its Insurance Programs as set forth above are approximately up to $275,000.
                                          25   ///
                                          26

                                          27

                                          28

                                                                                        - 25 -
                                         Case 22-02384-LT11    Filed 09/12/22   Entered 09/12/22 14:54:43   Doc 7   Pg. 26 of 26



                                           1         I declare under penalty of perjury that, to the best of my knowledge and after
                                           2   reasonable inquiry, the foregoing is true and correct.
                                           3         Executed this 12th day of September 2022, at Los Angeles, California.
                                           4

                                           5

                                           6                                                            Isaac Lee
                                           7

                                           8

                                           9
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
         DENTONS US LLP




                                          12
            (213) 623-9300




                                          13

                                          14

                                          15

                                          16

                                          17

                                          18

                                          19
                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27

                                          28

                                                                                        - 26 -
